Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 1 of 13 Page ID #:4152




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     7 representative of all others similarly situated
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    15
       Attorneys for Defendant Wurth Louis
    16 and Company
    17
    18                        UNITED STATES DISTRICT COURT
    19        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
    20
    21 Craftwood II, Inc., et al.,                   Case No. 8:17-cv-00606 (DOC) (KES)
    22               Plaintiff,                      Hon. David O. Carter
    23         v.                                    Joint Exhibit List
    24 Wurth Louis & Company, et al.,                Pre-Trial Conf.:     November 16, 2018
                                                     Time:                7:30 A.M.
    25               Defendant.                      Courtroom:           9D
    26
                                                     Trial Date:          December 4, 2018
    27                                               Time:                8:30 A.M.
                                                     Courtroom:           9D
    28

                                           JOINT EXHIBIT LIST
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     1           Subject to objections each party may interpose, the parties anticipate
     2 attempting to introduce the following exhibits at the trial of this matter:
     3
     4     Exh.                     Description                      Date              Date
     5                                                             Identified        Admitted
            3         Removal with exhibits
     6
            4         Wurth Louis and Company’s Second
     7                Supplemental Responses to Plaintiff
     8                Craftwood II, Inc.’s First Set of
                      Interrogatories
     9
            6         Email from J. Makuuchi to Rob Berret
    10                re New products added to
    11                www.wurthlac.com (WLAC006045-
                      WLAC6046)
    12      16        Faxes attached to complaint
    13                (BH00001-BH000012)
    14      17        Fax Logs (BH000457-BH000500)
            19        Bay Hardware paper purchases
    15
                      (BH000207)
    16      20        Wurth Louis Purchases (BH000334)
    17      21        Screenshots of Craftwood II purchases
    18                (BH000343- BH000362)
            22        Wurth Louis order confirmation
    19
                      (BH000218)
    20      23        Invoices for Wurth Louis purchases
    21                (WLAC000100-WLAC000116)
    22      24        Craftwood II fax of resale certificate
                      (WLAC000094)
    23      25        Fax communications between
    24                Craftwood II and Wurth Louis
                      (WLAC000095-WLAC000099)
    25
            31        Westfax terms and conditions
    26
            33        Berrett to Nichols email Sep. 6, 2016
    27      40        Nichols to Berrett email Dec. 2, 2016
    28
                                                    -2-
                                             JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 3 of 13 Page ID #:4154




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           44      Nichols to numerous recipients email
     3
                   Dec. 7, 2015
     4     52      Minehart to Beason et al email Jan.
     5             11, 2016
     6     53      Hull to Beason email Jan. 18, 2016
           55      Wurth Third Supplemental Response
     7             to Craftwood II First Set of
     8             Interrogatories (duplicative of Ex.
                   130)
     9
           59      Westfax invoices
    10
           73      Preservation Letter dated March 8,
    11             2017, to Wurth Louis and Company
                   from C. Darryl Cordero
    12
           83      Clark declaration
    13
           85      Westfax invoices
    14
           93      Westfax terms and conditions
    15     94      Westfax terms and conditions
    16     99      Westfax email to Teresa Minehart
    17             (WLAC005022)
           106     Westfax Removal Screenshot
    18
           131     Westfax Customer Agreement – terms
    19             and conditions
    20     142     Handwritten fax transmission list
                   (WLAC006577-WLAC006578)
    21
           143     Fax packet (various Bates)
    22
           145     Wurth Week fax documents
    23             (WLAC001870, WLAC005427,
    24             WLAC005429-WLAC005430,
                   WLAC005428)
    25     146     Lam-Portal fax documents
    26     147     Blum promo fax documents
    27     153     Minehart Email 12-22-15
                   WLAC005927-WLAC005933)
    28
                                              -3-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 4 of 13 Page ID #:4155




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           154     Handwritten opt-out list
     3
                   (WLAC000015- WLAC000035)
     4     157     Fax Flyer
     5     158     Fax Flyer
     6     159     Fax Flyer
     7     160     Fax Flyer
           161     Fax Flyers
     8
           162     Fax Flyer
     9
           177     Corona to Minehart email Aug 3,
    10             2015
    11     178     Breafaxlist
    12     179     Corona to Minehart email July 30,
                   2015
    13
           180     Faxlist
    14     181     Westfax invoice
    15     300     Bay Hardware phone records
    16             (BH00013-BH00198)
           301     Bay Hardware toner purchases
    17
                   (BH000201-BH000203)
    18     302     Pictures of fax machine (BH000204-
    19             BH000206)
    20     303     Bay Hardware fax-related purchases
                   (BH000307-BH000333)
    21     304     Westfax Invoices (WLAC008754-
    22             WLAC008761)
    23     305     Deep Deals fax flyer (WLAC005407)
           306     Deep Deals fax list (WLAC005406)
    24
           307     Deep Deals - March 5, 2015 email
    25             from Justin Corona transmitting flyer
    26             and fax list (WLAC005405)
    27     308     WurthWeek fax flyer (WLAC005429-
                   WLAC005430)
    28
                                              -4-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 5 of 13 Page ID #:4156




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           309     WurthWeek fax list (WLAC005428)
     3
           310     WurthWeek - April 6, 2015 email
     4             from Justin Corona transmitting flyer
     5             and fax list (WLAC005427)
     6     311     LAM Portal fax flyer (WLAC006899)
           312     LAM Portal fax list (WLAC005473)
     7
           313     LAM Portal - April 24, 2015 emails
     8             from Justin Corona transmitting flyer
     9             and fax list (WLAC005470-
                   WLAC005472)
    10
           314     SCM Grand Opening fax flyer
    11             (WLAC006899)
    12     315     SCM Grand Opening fax list
                   (WLAC005484)
    13
           316     SCM Grand Opening -May 1, 2015
    14             email from Justin Corona transmitting
    15             fax list (WLAC005483)
           317     May 4 Laminate Flyer fax list
    16
                   (WLAC005473)
    17     318     Titebond_may112015 fax flyer
    18             (WLAC005490)
    19     319     Titebond_may112015 fax list
                   (WLAC005489)
    20     320     Blum Promo 5/21/15 fax flyer
    21             (WLAC005545)
    22     321     Blum Promo 5/21/15 fax list
                   (WLAC002077)
    23
           322     Blum Promo 5/21/15 - May 21, 2015
    24             email from Justin Corona transmitting
                   fax list (WLAC005544)
    25
           323     CA Adhesive Promo fax flyer
    26             (WLAC001055)
    27     324     CA Adhesive Promo fax list
    28             (WLAC005652)
                                              -5-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 6 of 13 Page ID #:4157




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           325     CA Adhesive Promo fax list
     3
                   (WLAC000638)
     4     326     CA Adhesive Promo – June 1, 2015
     5             email from Justin Corona transmitting
                   fax flyer and fax list (WLAC005647-
     6             WLAC005653)
     7     327     Titebond 8/2015 fax flyer
     8             (WLAC005818)
           328     Titebond 8/2015 fax list
     9             (WLAC005829)
    10     329     Titebond 8/2015 - July 30, 2015
    11             email from Justin Corona transmitting
                   fax flyer and fax list (WLAC005816-
    12             WLAC005818)
    13     330     Golf Tournament fax flyer
                   (WLAC001189)
    14
           331     Golf Tournament fax list
    15             (WLAC002090)
    16     332     Golf Tournament – August 3, 2015
    17             email from Justin Corona transmitting
                   fax list (WLAC001057-
    18             WLAC001187)
    19     333     Dynabrade Promo 8/5 and 8/15 fax
                   flyer (WLAC005820)
    20
           334     Dynabrade Promo 8/5 and 8/15 fax list
    21             (WLAC005829)
    22     335     Dynabrade Promo 8/5 and 8/15 - July
    23             30, 2015 email from Justin Corona
                   transmitting fax flyer (WLAC005816-
    24             WLAC005818)
    25     336     Dynabrade Promo 8/5 and 8/15 - July
                   30, 2015 email from Justin Corona
    26
                   transmitting fax flyer (WLAC005819-
    27             WLAC005820)
    28
                                              -6-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 7 of 13 Page ID #:4158




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           337     Sensio Discount fax flyer
     3
                   (WLAC005931)
     4     338     Sensio Discount – December 7, 2015
     5             email from Justin Corona transmitting
                   fax flyer (WLAC005924)
     6
           339     Sensio Clearance fax flyer
     7             (WLAC005958)
     8     340     Sensio Clearance fax list
                   (WLAC002125)
     9
           341     Minehart Dec. 22, 2015, email Fax
    10             Blast samples (WLAC005927-
    11             WLAC005933)
           342     Sensio Clearance – January 11, 2016
    12
                   emails from Justin Corona
    13             transmitting fax flyer and fax list
                   (WLAC005945-5946,WLAC005956)
    14
           343     Sensio Clearance email (WLAC5949)
    15
           344     Sensio Clearance email
    16             (WLAC005956-WLAC005959)
    17     345     Reactivation Segment - September 14,
                   2016 email from Justin Corona
    18
                   transmitting fax list (WLAC008815-
    19             WLAC008818) and attachment
                   produced 7-31-18
    20
           346     Pickdiscount fax list (WLAC006554-
    21             WLAC006575)
    22     347     Pickdiscount – November 23, 2016
    23             email from Theresa Minehart
                   transmitting fax flyer (WLAC006291-
    24             WLAC006293)
    25     348     Dec 2016 Online Cal Promo fax flyer
                   (WLAC006337)
    26
           349     Dec 2016 Online Cal Promo fax list
    27             (WLAC002094)
    28
                                              -7-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 8 of 13 Page ID #:4159




     1    Exh.                 Description                    Date         Date
     2                                                      Identified   Admitted
           350     Dec 2016 Online Cal Promo –
     3
                   December 5, 2016 email from Rob
     4             Berrett transmitting fax flyer
                   (WLAC006336-WLAC006337)
     5
           351     ChoiceBrandPromo fax list
     6             (WLAC002120)
     7     352     ChoiceBrand Promo – December 12,
     8             2016 email from Theresa Minehart
                   transmitting fax flyer (WLAC008820-
     9             WLAC008821)
    10     353     ReactivationwithTitebond fax flyer
                   (WLAC000009-WLAC000014)
    11
           354     ReactivationwithTitebond fax list
    12             (WLAC002114)
    13     355     Reactivation email (WLAC006519-
                   WLAC006520)
    14
           356     Wurth’s Responses to Craftwood’s
    15             Request for Admissions, Set One
    16     357     Wurth’s Responses to Craftwood’s
    17             Interrogatories, Set One
           358     Wurth’s Supplemental Responses to
    18
                   Craftwood’s Interrogatories, Set One
    19     400     Bay Hardware communications with
    20             Wurth Louis and related documents
                   (WLAC000117- WLAC000145)
    21
           401     Payments received by Craftwood II
    22             for TCPA-related litigation
    23             (BH000501-BH000502)
           402     Court docket entries, including the
    24             complaint and settlement-related
    25             filings and orders, from other TCPA
                   cases with Craftwood-related entities
    26
                   as a named party:
    27                  Craftwood Lumber Company v.
                          Interline Brands, Inc.
    28
                                              -8-
                                       JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 9 of 13 Page ID #:4160




     1    Exh.                  Description                    Date         Date
     2                                                       Identified   Admitted
                        Craftwood II, Inc. v. Tomy
     3
                          International, Inc. et al
     4                  Craftwood Lumber Company v.
     5                    Seaboard International Forest
                          Products
     6                  Craftwood Lumber Company v.
     7                    Senco Brands, Inc.
                        Craftwood Lumber Company v.
     8                    CMT (USA), Inc.
     9                  Craftwood Lumber Company v.
                          Auburn Armature, Inc.
    10                  Craftwood II, Inc. v. United
    11                    Stationers Inc.
                        Craftwood Lumber Company v.
    12
                        B.E. Atlas Company, Inc.
    13                  Craftwood Lumber Company v.
    14                    Essendant, Inc. et al
                        Alpha Tech Pet, Inc. v. Lagasse,
    15                    LLC (Craftwood participating
    16                    as a Third Party Plaintiff)
                        Craftwood II, Inc. v. Generac
    17                    Power Systems
    18                  Craftwood II, Inc. v. Horizon
                          Global Corporation
    19                  Craftwood Lumber Company et
    20                    al v. Horizon Global
                          Corporation et al
    21
                        Craftwood II, Inc. v. Wurth
    22                    Louis and Company
    23                  Craftwood Lumber Co. v.
                          Hardware Resources Inc.
    24     403     Summary chart of Craftwood TCPA-
    25             related litigation and approved
                   settlement amounts, (ECF 19-3)
    26
           404     Craftwood II purchase agreement
    27             (BH000335-BH000342)
    28
                                               -9-
                                        JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 10 of 13 Page ID
                                 #:4161



  1    Exh.                 Description                    Date         Date
  2                                                      Identified   Admitted
        405     Pictures of Bay Hardware store
  3
                (WLAC0008972-8976)
  4     406     Pictures of Bay Hardware fax machine
  5             (WLAC008977-8993)
  6     407     Pictures of Bay Hardware fax tray
                (WLAC008994-9005)
  7     408     User manual for dell-2335dn
  8             (WLAC009006-9289)
  9     409     Customer statements related to
                consent (ECF 136-20)
 10
        410     Voicemail from Quintero to Wurth
 11             Louis (WLAC006546)
 12     411     Sworn statements and declarations by
                David Brunjes (WLAC009290-9387)
 13                  Brunjes, David Declaration
 14                    case 1:11-cv-04462
                     Brunjes, David Declaration
 15
                       case 8:15-cv-00704-JSL-DFM
 16                  Brunjes, David Declaration
                       case 1:14-cv-06866
 17
                     Brunjes, David Declaration
 18                    case 1:14-cv-06866
 19                  Brunjes, David Declaration
                       case 1:16-cv-07865
 20                  Brunjes, David Declaration
 21                    case 1:16-cv-07865
                     Brunjes, David Declaration
 22                    case 1:17-cv-04105
 23                  Deposition transcript case 11-
                       cv-4462
 24
        412     Lunada Bay Purchase History
 25             (WLAC008752-8753)
 26     413     Bay Hardware Purchase History
                (WLAC008746-8751)
 27
        414     Craftwood's Resps. to RFA, Set 1
 28
                                          -10-
                                    JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 11 of 13 Page ID
                                 #:4162



  1     Exh.                    Description                      Date             Date
  2                                                            Identified       Admitted
        415       Craftwood's Resps. to SpecRogs, Set 2
  3
        416       Craftwood's Resps. to Wurth Louis's
  4               SpecRogs, Set No. 1
  5     417       Craftwood's Supp. Resps. to Rog 14
  6     418       Judge Carter’s Order Denying Class
                  Certification
  7
        419       Wurth Outside Sales Representative
  8               Declarations (ECF 130-19)
  9     420       Letter dated May 3, 2018 from Tom
                  Kayes to Scott Luskin, and
 10
                  accompanying attachments of lists
 11     421       Email and accompanying lists sharing
 12               1950 customers for Craftwood to
                  contact to verify consent
 13
        422       Summary of products referenced in
 14               faxes allegedly sent to Craftwood II
 15               that Craftwood II sells (ECF 130-18)
        423       Screenshots of Craftwood’s
 16
                  information inputted into Wurth’s
 17               SAP database (WLAC009388-9393)
 18     424       Craftwood Call Log (WLAC009394)
 19     425       Screenshots from Bay Hardware’s
                  public website
 20     426       Screenshots from Wurth Louis and
 21               Company’s public website including
                  photos of parts ordered by Craftwood
 22               II
 23
 24         The parties reserve the right to amend and/or supplement this list in the
 25 Pretrial Order, and to use any exhibit identified by any other party. They further
 26 reserve the right to use other documents for rebuttal or impeachment. The parties
 27 also agree that an objection to an exhibit applies to that same exhibit, or similar
 28 version thereof, if accidentally identified within this Exhibit List.
                                               -11-
                                        JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 12 of 13 Page ID
                                 #:4163



  1 DATED: October 26, 2018          PAYNE & FEARS LLP
  2
                                     By:          /s/ Scott O. Luskin
  3                                                      C. Darryl Cordero
  4                                                       Scott O. Luskin

  5                                        Attorneys for Plaintiff Craftwood II, Inc.,
  6                                        dba Bay Hardware, individually and as
                                           representative of all others similarly
  7                                        situated
  8
      DATED: October 26, 2018        KING & SPALDING LLP LLP
  9
                                     By:          /s/ Liv Kiser
 10
                                                             Liv Kiser
 11                                                      Michael Shortnacy
 12
                                           Attorneys for Defendant Wurth Louis and
 13                                        Company
 14
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                                   JOINT EXHIBIT LIST
Case 8:17-cv-00606-DOC-KES Document 158 Filed 10/26/18 Page 13 of 13 Page ID
                                 #:4164



  1                                     Certificate of Service
  2            I hereby certify that at the time of service, I was over 18 years of age and not
  3 a party to this action. I am employed in the County of Los Angeles, State of
  4 California. My business address is 400 Continental Blvd., Suite 600, El Segundo,
  5 CA 90245.
  6              On this 26th day of October, 2018, I served true copy of Joint Exhibit List
  7 on the interested parties in this action via the United States District Court CM/ECF
  8 system on all parties or persons requiring notice.
  9
 10                                                  /s/ Scott O. Luskin
 11                                                  Scott O. Luskin
 12
      4821-3064-0505.1

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                                           JOINT EXHIBIT LIST
